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                           UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

   ALEC POPIVKER,                     :
                                      :             CASE NO.
                           Plaintiff, :
                                      :
   v.                                 :
                                      :             JUDGE:
   CUYAHOGA COUNTY, OHIO              :
                                      :
    and                               :
                                      :             PLAINTIFF’S COMPLAINT AND JURY
   HAROLD PRETEL, in his individual   :             DEMAND
   capacity,                          :
                                      :
   and                                :
                                      :
   ABBAS HAMIDEH, in his individual :
   capacity,                          :
                                      :
                                      :
                         Defendants. :
                                      :
                                      :


       COMES NOW Plaintiff Alec Popivker (“Plaintiff”), by and through his undersigned legal

counsel, and for his Complaint against Defendants Cuyahoga County, Harold Pretel (“Pretel”),

and Abbas Hamideh (“Hamideh”) alleges as follows:

                                   JURISDICTION AND VENUE

   1. This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because the Plaintiff’s

       federal claims arise under the Constitution and laws of the United States.

   2. This Court has supplemental jurisdiction over Plaintiff’s state law claims because they

       share a common nucleus of operative fact and/or arise out of the same transactions or

       occurrences as his federal claims.



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3. Venue with this Court is appropriate pursuant to 28 U.S.C. § 1391(b) because a substantial

    part of the events giving rise to the claims occurred in this judicial district.

                                            THE PARTIES

4. Plaintiff Alec Popivker is Jewish in ethnicity and faith. Plaintiff is a resident of this judicial

    district.

5. The Cuyahoga County Sheriff’s Department is a law enforcement agency located in

    Cuyahoga County in Cleveland, Ohio.

6. Defendant Cuyahoga County is responsible for the acts and omissions of the Cuyahoga

    County Sheriff’s Department.

7. Defendant Harold Pretel is the Sheriff employed by the Cuyahoga County Sheriff’s

    Department. He is sued in his individual capacity.

8. Defendant Abbas Hamideh is a Security Guard employed by the Cuyahoga County

    Sheriff’s Department. Upon information and belief, Hamideh is a practicing Muslim and/or

    of Palestinian descent. He is sued in his individual capacity.

                                     STATEMENT OF FACTS

9. Plaintiff has been a vocal advocate for the rights of Israel and the Jewish people since 2020.

10. Following the October 7, 2023, Hamas-led attack on Israel (the “October 7th Attack),

    Plaintiff became an active and outspoken supporter for the existence of a Jewish state in

    Israel and its right to self-defense.

11. The October 7th Attack is not a niche issue. Rather, it has been widely debated and received

    significant public attention in the United States and the world at large.

12. Citizens in Cleveland and Cuyahoga County likewise engaged in this debate.




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13. The Israel-Palestine debate, the October 7th Attack, and the events following it have been

   contentious issues, drawing strong opinions and involvement from many members of the

   community, including both the Plaintiff and Hamideh.

14. Plaintiff has taken the public position that he supports Israel’s right to exist, its right to

   defend itself, and its response to the October 7th Attack.

15. In contrast to Plaintiff, Defendant Hamideh holds opposing views regarding the Israel-

   Palestine debate. For example:

       a. Upon information and belief, Defendant Hamideh has publicly and repeatedly

           denied Israel’s right to exist as a sovereign state.




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       b. Upon information and belief, Defendant Hamideh has expressed support for the

           October 7th Attacks.




16. Over time, Plaintiff and Defendant Hamideh have become acquainted through their

   respective and active engagements in discussions, debates, protests, and events

   surrounding the Israel-Palestine issue.

17. They are both known within the community for their involvement in this ongoing public

   discourse.

18. Plaintiff and Defendant Hamideh know each other from their involvement in protesting for

   their respective positions.




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19. Upon information and belief, Defendant Hamideh has been employed as a Security Officer

   with the Cuyahoga County Sheriff’s Department since January 8, 2007.

20. Upon information and belief, the Sheriff’s Department and Defendant Pretel are fully

   aware of Defendant Hamideh’s abovementioned views and have been aware of these views

   for a period of time.

21. Upon information and belief, during a time period unknown but preceding the events

   giving rise to Plaintiff’s claims, an investigation into Defendant Hamideh’s rhetoric and

   views, and how they might impact the performance of his job duties, was conducted by the

   Cuyahoga County Sheriff’s Department.

22. On August 28, 2024, Plaintiff visited the Cuyahoga County Courthouse.

23. Plaintiff was dressed wearing his tallit, a fringed garment worn as a prayer shawl by

   religious Jews, and his yarmulke.

24. Plaintiff observed Hamideh in uniform working the security guard desk on Floor 16.

25. Plaintiff, while in a public space, took a photograph or recording of Hamideh using his

   cellphone.

26. The act of taking the photograph was lawful, as it occurred in a public setting where

   Defendant Hamideh had no reasonable expectation of privacy.

27. The act of taking the photograph did not meaningfully interfere with Defendant Hamideh’s

   job duties.

28. No Local Rule of the Cuyahoga County Court of Common Pleas prohibited the use of

   phones in the hallways of the Courthouse.

29. Upon realizing that Plaintiff had taken a photograph, Defendant Hamideh became visibly

   angry.



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30. Defendant Hamideh, in response to Plaintiff’s lawful action, got up and proceeded to

   follow the Plaintiff to the elevator, insisting that Plaintiff had violated the Courthouse rules

   by recording in the hallway/lobby area.

31. In the course of this confrontation, Defendant Hamideh escalated to physical violence, and

   forcefully engaged with the Plaintiff by trying to take his phone from him.




32. Defendant Hamideh ripped Plaintiff’s phone from his hand, causing the case to tear in the

   process.

33. Defendant Hamideh called for backup deputies and falsely alleged that Plaintiff had

   assaulted him.

34. In an effort to escape his aggressor, Plaintiff called an elevator. However, Defendant

   Hamideh proceeded to follow and assault Plaintiff.

35. Once the elevator had been called, Defendant Hamideh pushed the Plaintiff into the

   elevator wall.


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36. During this assault, Defendant Hamideh ripped the Plaintiff’s shirt and attacked him with

   what Plaintiff believes to be liquid mace.

37. Once the elevator stopped on the first floor, additional deputies and police officers

   confronted Plaintiff.

38. During this confrontation, Defendant Hamideh asserted a false narrative that Plaintiff

   assaulted him.

                                  FIRST CAUSE OF ACTION:
                   FIRST AMENDMENT RETALIATION, 42 U.S.C. § 1983
                                       Freedom of Speech
                                   (As to Defendant Hamideh)
39. Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

   restated herein and further alleges that the actions of Defendant violated his First

   Amendment right to free speech.

40. The First Amendment of the United States Constitution prohibits Congress, and by

   incorporation state actors, from restricting the rights of individuals to speak freely.

41. Plaintiff engaged in constitutionally protected speech under the First Amendment by

   publicly supporting the existence of a Jewish state.

42. At all times relevant, Hamideh was employed by the Sheriff’s Department and was acting

   within the course and scope of his employment.

43. Hamideh, acting under color of state law, engaged in retaliatory conduct by forcefully

   assaulting the Plaintiff and arresting Plaintiff without probable cause.

44. Hamideh’s retaliatory actions were motivated by Plaintiff’s exercise of free speech and

   were intended to suppress or punish Plaintiff for engaging in that speech.

45. “[T]he First Amendment right to criticize public officials is well-established […]

   Furthermore, it is well-established that a public official’s retaliation against an individual



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   exercising his or her First Amendment rights is a violation of § 1983.” Barrett v.

   Harrington, 130 F.3d 246, 264 (6th Cir.1997).

46. “The freedom of individuals verbally to oppose or to challenge police action without

   thereby risking arrest is one of the principal characteristics by which we distinguish a free

   nation from a police state.” Houston v. Hill, 482 U.S. 451, 461-463, 107 S.Ct. 2502, 96

   L.Ed.2d 398 (1987).

47. The First Amendment of the federal Constitution “protects a significant amount of verbal

   criticism and challenge directed at police officers.” Id. at 461. Unless the speech is “likely

   to produce a clear and present danger of a serious substantive evil that rises far above public

   inconvenience, annoyance, or unrest[,]” the speech is protected under the First

   Amendment. Id. (quoting Terminiello v. Chicago, 337 U.S. 1, 4, 69 S.Ct. 894, 93 L.Ed.

   1131 (1949)).

48. As the Supreme Court has repeatedly concluded, laws have been invalidated when they

   “provide the police with unfettered discretion to arrest individuals for words or conduct

   that annoy or offend them.” Houston v. Hill, 482 U.S. 451, 465, 107 S.Ct. 2502, 96 L.Ed.2d

   398 (1987).

49. Defendant’s conduct violated Plaintiff’s rights under the First Amendment to the United

   States Constitution, as applied to the states through the Fourteenth Amendment, and 42

   U.S.C. § 1983.

50. As a direct and proximate result of Defendant’s actions, Plaintiff has suffered harm,

   including, but not limited to, emotional distress, fear, anxiety, loss of reputation,

   embarrassment, humiliation, and the chilling of Plaintiff’s future speech.




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                                SECOND CAUSE OF ACTION:
                   FIRST AMENDMENT RETALIATION, 42 U.S.C. § 1983
                                       Freedom of Speech
                                   (As to Defendant Hamideh)
51. Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

   restated herein.

52. Plaintiff engaged in constitutionally protected speech under the First Amendment by using

   his cellphone to take a photograph and/or recording in a public space.

53. At all times relevant, Hamideh was employed by the Sheriff’s Department and was acting

   within the course and scope of his employment.

54. Given the radical nature of Hamideh’s viewpoint, his position with the Sheriff’s

   Department is newsworthy as it sparks significant public debate and concerns within the

   community.

55. The act of taking the photograph was lawful, as it occurred in a public setting where

   Hamideh had no reasonable expectation of privacy.

56. The Cuyahoga County Local Rules do not prevent photography and recording in the lobby,

   elevator, or hallways of the courthouse.

57. In addition to the general lawfulness of Plaintiff’s behavior, “the public has a First

   Amendment right to photograph and film police activities” Freeman v. Spoljaric, 667 F.

   Supp. 3d 636, 661-662 (S.D. Ohio 2023).

58. Hamideh, acting under color of state law, engaged in retaliatory conduct by forcefully

   assaulting the Plaintiff and arresting Plaintiff without probable cause.

59. Hamideh’s retaliatory actions were motivated by Plaintiff’s exercise of free speech and

   were intended to suppress or punish Plaintiff for engaging in that speech.




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60. Defendant’s conduct violated Plaintiff’s rights under the First Amendment to the United

   States Constitution, as applied to the states through the Fourteenth Amendment, and 42

   U.S.C. § 1983.

61. As a direct and proximate result of Defendant’s actions, Plaintiff has suffered harm,

   including, but not limited to, emotional distress, fear, anxiety, loss of reputation,

   embarrassment, humiliation, and the chilling of Plaintiff’s future speech.

                                 THIRD CAUSE OF ACTION:
                   FIRST AMENDMENT RETALIATION, 42 U.S.C. § 1983
                                       Freedom of Speech
               (As to Defendant Cuyahoga County and Defendant Harold Pretel)
62. Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

   restated herein.

63. A governmental entity is responsible under § 1983 “when the execution of [its] policy or

   custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said

   to represent official policy, inflicts the injury….” Monell v. Dep’t Servs. Of City of New

   York, 436 U.S. 658, 694 (1978).

64. The Cuyahoga County and/or the Sheriff’s Department has unconstitutional customs,

   policies, and procedures relating to protected speech within its jurisdiction.

65. The Sheriff’s Department has failed to appropriately screen, hire, train, and discipline its

   officers in matters involving distinguishing between protected and unprotected speech

   within its jurisdiction.

66. The Sheriff’s Department’s failure to screen, hire, train, and discipline its officers in

   matters concerning protected speech amounts to deliberate indifference to the rights of

   persons with whom the officers come into contact.




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67. Upon information and belief, Hamideh acted pursuant to the Sheriff’s Department’s

   customs, policies, and procedures when he deprived Plaintiff of his constitutional rights.

68. The Sheriff’s Department was negligent in the hiring, supervision, and retention of

   Hamideh as it knew or should have known that Hamideh was likely to engage in the

   conduct that resulted in harm to Plaintiff.

69. At all times relevant, Pretel was the Cuyahoga County Sheriff and had the authority to

   oversee Hamideh’s conduct, including the power to investigate, discipline, or terminate

   Hamideh for misconduct or policy violations.

70. Pretel was responsible for ensuring that Hamideah complied with all applicable laws,

   polices, and procedures in carrying out his duties.

71. Pretel was aware, or should have been aware, of Hamideh’s anti-Semitic views, including

   Hamideh’s denial of Israel’s right to exist, vocal support for Hamas, and endorsement of

   terrorism.

72. Despite having knowledge of Hamideh’s position and the authority to intervene, Pretel

   deliberately chose to take no action.

73. Pretel’s inaction amounted to deliberate indifference to the foreseeable harm caused by

   Hamideh’s conduct.

74. As a direct and proximate result of Defendants’ actions, Plaintiff has suffered harm,

   including, but not limited to, deprivation of his constitutional rights, emotional distress,

   fear, anxiety, loss of reputation, embarrassment, and humiliation.

                          FOURTH CAUSE OF ACTION:
                 FIRST AMENDMENT RETALIATION, 42 U.S.C. § 1983
                            Ethnicity-Based Retaliation
                            (As to Defendant Hamideh)




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75. Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

   restated herein.

76. Plaintiff, a man of Jewish ethnicity, engaged in constitutionally protected activity by

   dressing in a traditional tallit and yarmulke and by publicly supporting the existence of a

   Jewish state.

77. At all times relevant, Hamideh was employed by the Sheriff’s Department and was acting

   within the course and scope of his employment.

78. Hamideh, acting under color of state law, engaged in retaliatory conduct by forcefully

   assaulting Plaintiff and arresting Plaintiff without probable cause because of Plaintiff’s

   ethnicity.

79. Hamideh’s retaliatory actions were motivated by Plaintiff’s speech on matters of ethnicity

   and were intended to suppress or punish Plaintiff for engaging in this protected expression.

80. Hamideh’s conduct was further motivated by Plaintiff’s ethnicity, which was a substantial

   or motivating factor in the decision to retaliate against Plaintiff.

81. Hamideh’s actions constituted not only a violation of Plaintiff’s free speech rights but also

   an act of ethnic discrimination.

82. Defendant’s conduct violated Plaintiff’s rights under the First Amendment to the United

   States Constitution, as applied to the states through the Fourteenth Amendment, and 42

   U.S.C. § 1983.

83. As a direct and proximate result of Defendant’s actions, Plaintiff has suffered harm

   including, but not limited to, emotional distress, fear, anxiety, loss of reputation,

   embarrassment, humiliation, the chilling of Plaintiff’s future speech, and ethnic-based

   stigma.



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                                    FIFTH CAUSE OF ACTION:
                       FIRST AMENDMENT RETALIATION, 42 U.S.C. § 1983
                                    Ethnicity-Based Retaliation
                   (As to Defendant Cuyahoga County and Defendant Harold Pretel)

      84. Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

         restated herein.

      85. A governmental entity is responsible under § 1983 “when the execution of [its] policy or

         custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said

         to represent official policy, inflicts the injury….” Monell v. Dep’t Servs. Of City of New

         York, 436 U.S. 658, 694 (1978).

      86. The Sheriff’s Department has unconstitutional customs, policies, and procedures relating

         to ethnicity within its jurisdiction.

      87. The Sheriff’s Department has failed to appropriately screen, hire, train, and discipline its

         officers in matters involving ethnic discrimination within its jurisdiction.

88.      The Sheriff’s Department’s failure to screen, hire, train, and discipline its officers in

         matters concerning ethnicity amounts to deliberate indifference to the rights of persons

         with whom the officers come into contact.

89.      Upon information and belief, Hamideh acted pursuant to the Sheriff’s Department’s

         customs, policies, and procedures when he deprived Plaintiff of his constitutional rights.

90.      The Sheriff’s Department was negligent in the hiring, supervision, and retention of

         Hamideh as it knew or should have known that Hamideh was likely to engage in the

         conduct that resulted in harm to Plaintiff.

91.      At all times relevant, Pretel was the Cuyahoga County Sheriff and had the authority to

         oversee Hamideh’s conduct, including the power to investigate, discipline, or terminate

         Hamideh for misconduct or policy violations.

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92.    Pretel was responsible for ensuring that Hamideah complied with all applicable laws,

       polices, and procedures in carrying out his duties.

93.    Pretel was aware, or should have been aware, of Hamideh’s anti-Semitic views, including

       Hamideh’s denial of Israel’s right to exist, vocal support for Hamas, and endorsement of

       terrorism.

94.    Despite having knowledge of Hamideh’s position and the authority to intervene, Pretel

       deliberately chose to take no action.

95.    Pretel’s inaction amounted to deliberate indifference to the foreseeable harm caused by

       Hamideh’s conduct.

96.    As a direct and proximate result of Defendants’ actions, Plaintiff has suffered harm,

       including, but not limited to, emotional distress, fear, anxiety, loss of reputation,

       embarrassment, humiliation, the chilling of Plaintiff’s future speech, and ethnic-based

       stigma.

                                     SIXTH CAUSE OF ACTION:
                      FIRST AMENDMENT RETALIATION, 42 U.S.C. § 1983
                                       Religion-Based Retaliation
                                      (As to Defendant Hamideh)
97.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

       restated herein.

98.    Plaintiff, a man of Jewish faith, engaged in constitutionally protected religious expression

       under the First Amendment by dressing in a traditional tallit and yarmulke and by publicly

       supporting the existence of a Jewish state.

99.    At all times relevant, Hamideh was employed by the Sheriff’s Department and was acting

       within the course and scope of his employment.




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100.    Hamideh, acting under color of state law, engaged in retaliatory conduct by forcefully

        assaulting Plaintiff and arresting Plaintiff without probable cause because of Plaintiff’s

        religious expression or affiliation.

101.    Hamideh’s retaliatory actions were motivated by Plaintiff’s religious speech or practice

        and were intended to suppress or punish Plaintiff for engaging in protected religious

        expression.

102.    Hamideh’s conduct was further motivated by animus toward Plaintiff’s religion, or by

        hostility to Plaintiff’s exercise of religious freedom, violating both Plaintiff’s free speech

        rights and Plaintiff’s free exercise of religion.

103.    Defendants’ conduct violated Plaintiff’s rights under the Free Speech and Free Exercise

        Clauses of the First Amendment, as applied to the states through the Fourteenth

        Amendment, and 42 U.S.C. § 1983.

104.    As a direct and proximate result of Defendants’ actions, Plaintiff has suffered harm,

        including emotional distress, fear, anxiety, loss of reputation, embarrassment, humiliation,

        the chilling of religious expression, and a violation of Plaintiff’s right to free exercise of

        religion.

                                   SEVENTH CAUSE OF ACTION:
                        FIRST AMENDMENT RETALIATION, 42 U.S.C. § 1983
                                      Religion-Based Retaliation
                    (As to Defendant Cuyahoga County and Defendant Harold Pretel)

105.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.

106.    A governmental entity is responsible under § 1983 “when the execution of [its] policy or

        custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said




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        to represent official policy, inflicts the injury….” Monell v. Dep’t Servs. Of City of New

        York, 436 U.S. 658, 694 (1978).

107.    The Sheriff’s Department has unconstitutional customs, policies, and procedures relating

        to religion within its jurisdiction.

108.    The Sheriff’s Department has failed to appropriately screen, hire, train, and discipline its

        officers in matters involving the free exercise of religion within its jurisdiction.

109.    The Sheriff’s Department’s failure to screen, hire, train, and discipline its officers in

        matters concerning religion amounts to deliberate indifference to the rights of persons with

        whom the officers come into contact.

110.    Upon information and belief, Hamideh acted pursuant to the Sheriff’s Department’s

        customs, policies, and procedures when he deprived Plaintiff of his constitutional rights.

111.    The Sheriff’s Department was negligent in the hiring, supervision, and retention of

        Hamideh as it knew or should have known that Hamideh was likely to engage in the

        conduct that resulted in harm to Plaintiff.

112.    At all times relevant, Pretel was the Cuyahoga County Sheriff and had the authority to

        oversee Hamideh’s conduct, including the power to investigate, discipline, or terminate

        Hamideh for misconduct or policy violations.

113.    Pretel was responsible for ensuring that Hamideah complied with all applicable laws,

        polices, and procedures in carrying out his duties.

114.    Pretel was aware, or should have been aware, of Hamideh’s anti-Semitic views, including

        Hamideh’s denial of Israel’s right to exist, vocal support for Hamas, and endorsement of

        terrorism.




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115.    Despite having knowledge of Hamideh’s position and the authority to intervene, Pretel

        deliberately chose to take no action.

116.    Pretel’s inaction amounted to deliberate indifference to the foreseeable harm caused by

        Hamideh’s conduct.

117.    As a direct and proximate result of Defendants’ actions, Plaintiff has suffered harm,

        including, but not limited to, emotional distress, fear, anxiety, loss of reputation,

        embarrassment, humiliation, the chilling of religious expression, and a violation of

        Plaintiff’s right to free exercise of religion.

                           EIGHTH CAUSE OF ACTION:
                   FOURTH AMENDMENT VIOLATION, 42 U.S.C. § 1983
                                   Excessive Force
                             (As to Defendant Hamideh)

118.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein and further alleges that the actions of the Defendant violated his Fourth

        Amendment rights.

119.    At all times relevant, Hamideh was employed by the Sheriff’s Department and was acting

        within the course and scope of his employment.

120.    Hamideh’s actions of grabbing Plaintiff’s phone, slamming his head and body into the

        elevator wall, ripping his shirt, threatening to mace him, detaining and/or arresting him

        constituted the use of excessive force.

121.    In view of all the circumstances surrounding the incident, Hamideh’s use of force against

        Plaintiff was unwarranted.

122.    Hamideh, acting under color of state law, deprived Plaintiff of the rights, privileges and

        immunities secured by the Fourth Amendment to the Constitution of the United States.




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123.    “There is no dispute that the Fourth Amendment right of an individual to be free from the

        excessive use of force during an arrest is clearly established.” Andwan v. Village of

        Greenhills, No. 1:13-cv-624, 2017 U.S. Dist. LEXIS 132982, at *27 (S.D. Ohio Aug. 21,

        2017).

124.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered harm,

        including, but not limited to, deprivation of his constitutional rights, emotional distress,

        fear, anxiety, loss of reputation, embarrassment, humiliation, property damage, and bodily

        injury.

                                     NINTH CAUSE OF ACTION:
                       FOURTH AMENDMENT VIOLATION, 42 U.S.C. § 1983
                                             Excessive Force
                   (As to Defendant Cuyahoga County and Defendant Harold Pretel)
125.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.

126.    A governmental entity is responsible under § 1983 “when the execution of [its] policy or

        custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said

        to represent official policy, inflicts the injury….” Monell v. Dep’t Servs. Of City of New

        York, 436 U.S. 658, 694 (1978).

127.    The Sheriff’s Department has unconstitutional customs, policies, and procedures relating

        to the use of force against persons within its jurisdiction.

128.    The Sheriff’s Department has failed to appropriately screen, hire, train, and discipline its

        officers in matters involving the use of force by officers against persons.

129.    The Sheriff’s Department’s failure to screen, hire, train, and discipline its officers in

        matters concerning the use of force against persons amounts to deliberate indifference to

        the rights of persons with whom the officers come into contact.



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130.    Upon information and belief, Hamideh acted pursuant to the Sheriff’s Department’s

        customs, policies, and procedures when he deprived Plaintiff of his constitutional rights.

131.    The Sheriff’s Department was negligent in the hiring, supervision, and retention of

        Hamideh as it knew or should have known that Hamideh was likely to engage in the

        conduct that resulted in harm to Plaintiff.

132.    At all times relevant, Pretel was the Cuyahoga County Sheriff and had the authority to

        oversee Hamideh’s conduct, including the power to investigate, discipline, or terminate

        Hamideh for misconduct or policy violations.

133.    Pretel was responsible for ensuring that Hamideah complied with all applicable laws,

        polices, and procedures in carrying out his duties.

134.    Pretel was aware, or should have been aware, of Hamideh’s use of excessive force.

135.    Despite having the authority and ability to investigate or correct Hamideh’s conduct, Pretel

        deliberately chose to take no action.

136.    As a direct and proximate result of Defendants’ actions, Plaintiff has suffered harm,

        including, but not limited to, deprivation of his constitutional rights, emotional distress,

        fear, anxiety, loss of reputation, embarrassment, humiliation, property damage, and bodily

        injury.

                               TENTH CAUSE OF ACTION:
                      FOURTH AMENDMENT VIOLATION, 42 U.S.C. § 1983
                                  Illegal Search & Seizure
                                (As to Defendant Hamideh)

137.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.




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138.    The Fourth Amendment of the United States Constitution prohibits Congress, and by

        incorporation state actors, from unreasonably searching or seizing persons and their

        property.

139.    At all times relevant, Hamideh was employed by the Sheriff’s Department and was acting

        within the course and scope of his employment.

140.    Hamideh’s actions of grabbing Plaintiff’s phone, cornering him in the elevator, and

        illegally arresting and/or detaining him constituted an illegal seizure in violation of the

        Fourth Amendment.

141.    In view of all the circumstances surrounding the incident, Hamideh’s seizure of Plaintiff’s

        person and property was unwarranted and without probable cause or reasonable suspicion.

142.    Hamideh, acting under color of state law, deprived Plaintiff of the rights, privileges and

        immunities secured by the Fourth Amendment to the Constitution of the United States.

143.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered harm,

        including, but not limited to, deprivation of his constitutional rights, emotional distress,

        fear, anxiety, loss of reputation, embarrassment, humiliation, property damage, and bodily

        injury.

                                  ELEVENTH CAUSE OF ACTION:
                       FOURTH AMENDMENT VIOLATION, 42 U.S.C. § 1983
                                               False Arrest
                                       (As to Defendant Hamideh)
144.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.

145.    At all times relevant, Hamideh was a state actor and person acting under color of state law

        within the meaning of 42 U.S.C. § 1983.




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146.    Hamideh acted intentionally, with malice and knowing disregard for Plaintiff’s

        constitutional rights, in falsely detaining and arresting him against his will.

147.    Plaintiff was conscious of, and at no point consented to, the confinement by the Defendant.

148.    The actions of Hamideh in falsely detaining and arresting the Plaintiff without warrant,

        reasonable suspicion or probable cause violated Plaintiff’s Fourth Amendment rights

        pursuant to 42 U.S.C. § 1983.

149.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered harm,

        including, but not limited to, deprivation of his constitutional rights, emotional distress,

        fear, anxiety, loss of reputation, embarrassment, humiliation, property damage, and bodily

        injury.

                              TWELVETH CAUSE OF ACTION:
                      FOURTH AMENDMENT VIOLATION, 42 U.S.C. § 1983
                                     Illegal Search & Seizure
                  (As to Defendant Cuyahoga County and Defendant Harold Pretel)

150.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.

151.    A governmental entity is responsible under § 1983 “when the execution of [its] policy or

        custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said

        to represent official policy, inflicts the injury….” Monell v. Dep’t Servs. Of City of New

        York, 436 U.S. 658, 694 (1978).

152.    The Sheriff’s Department has unconstitutional customs, policies, and procedures relating

        to the search and seizure of persons within its jurisdiction.

153.    The Sheriff’s Department has failed to appropriately screen, hire, train, and discipline its

        officers in matters involving the search and seizure of person within its jurisdiction.




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154.    The Sheriff’s Department’s failure to screen, hire, train, and discipline its officers in

        matters concerning the search and seizure of persons amounts to deliberate indifference to

        the rights of persons with whom the officers come into contact.

155.    Upon information and belief, Hamideh acted pursuant to the Sheriff’s Department’s

        customs, policies, and procedures when he deprived Plaintiff of his constitutional rights.

156.    The Sheriff’s Department was negligent in the hiring, supervision, and retention of

        Hamideh as it knew or should have known that Hamideh was likely to engage in the

        conduct that resulted in harm to Plaintiff.

157.    At all times relevant, Pretel was the Cuyahoga County Sheriff and had the authority to

        oversee Hamideh’s conduct, including the power to investigate, discipline, or terminate

        Hamideh for misconduct or policy violations.

158.    Pretel was responsible for ensuring that Hamideh complied with all applicable laws,

        policies, and procedures in carrying out his duties.

159.    Pretel was aware, or should have been aware, of Hamideh’s illegal search and seizure of

        the Plaintiff.

160.    Despite having the authority and ability to investigate or correct Hamideh’s conduct, Pretel

        deliberately chose to take no action.

161.    As a direct and proximate result of Defendants’ actions, Plaintiff has suffered harm,

        including, but not limited to, deprivation of his constitutional rights, emotional distress,

        fear, anxiety, loss of reputation, embarrassment, humiliation, property damage, and bodily

        injury.

                           THIRTEENTH CAUSE OF ACTION:
            CIVIL LIABILITY FOR CRIMINAL ACTS UNDER OHIO REV. CODE §§
                               2307.60 (A)(1) AND 2921.45
                              Interference with Civil Rights

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                                       (As to Defendant Hamideh)
162.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.

163.    Criminal statute Ohio Rev. Code § 2921.45 forbids public servants from depriving any

        person of a constitutional or statutory right.

164.    Defendant acted under color of office, employment, and authority to knowingly deprive

        Plaintiff of his civil rights, including his constitutional rights under the First and Fourth

        Amendments to the U.S. Constitution.

165.    Defendant’s acts were willful, egregious, malicious, and worthy of substantial sanction to

        punish and deter Defendant and others from engaging in this type of unlawful conduct.

166.    As a direct and proximate result of Defendant’s unlawful activity, Plaintiff has suffered the

        above-mentioned damages.

                                FOURTEENTH CAUSE OF ACTION:
                                           Assault and Battery
                                       (As to Defendant Hamideh)
167.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.

168.    Hamideh intentionally attempted to cause, and did cause, apprehension of imminent

        harmful or offensive contact to Plaintiff.

169.    Hamideh intended to, and did cause, harmful or offensive contact to Plaintiff when he

        forcefully grabbed the Plaintiff, took his phone, slammed his head and body into the

        elevator wall, ripped his shirt, and maced him.

170.    Hamideh’s conduct was undertaken without Plaintiff’s consent and was unlawful, willful,

        and intentional.




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171.    In view of all the circumstances surrounding the incident, a reasonable person would find

        the conduct of Hamideh to be harmful and offensive.

172.    Under Ohio Rev. Code § 2307.60, anyone injured by a criminal act has a civil cause of

        action against the person who committed the offense.

173.    Hamideh’s actions, as set forth above, constitute criminal acts.

174.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered the

        abovementioned damages as well as great mental anguish, emotional distress, anxiety,

        humiliation, embarrassment, property damage, and bodily injury.

                                  FIFTEENTH CAUSE OF ACTION:
                               Intentional Infliction of Emotional Distress
                                          (As to All Defendants)
175.    Plaintiff incorporates by reference the allegations in the preceding paragraphs as if fully

        restated herein.

176.    Defendants intentionally engaged in a course of conduct, as described above, which was

        outrageous and utterly intolerable in a civilized society.

177.    Defendants’ conduct was calculated to cause Plaintiff to suffer serious emotional distress.

178.    As a result thereof, Defendants’ conduct was a direct and proximate cause of Plaintiff’s

        serious and foreseeable emotional distress, and related damages which he suffered thereby.

179.    As a proximate result of the actions of Defendants complained of herein, Plaintiff has

        suffered the abovementioned damages as well as great mental anguish, emotional distress,

        anxiety, humiliation and embarrassment.

   WHEREFORE, Plaintiff hereby demands judgment against Defendants as follows:

   a. For an award of damages to compensate Plaintiff for his fear, anxiety, emotional distress,

        embarrassment, and humiliation suffered as a result of Defendants’ unlawful acts;




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b. For an award of punitive damages to deter the Defendants from future violations of the

   constitutional rights of citizens;

c. For an award of interest according to law;

d. For an award of reasonable attorneys’ fees and costs incurred in prosecuting this matter;

   and

e. All other relief in law and equity to which Plaintiff may be entitled.



                                           /s/ Matthew S. Okiishi
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                                        JURY DEMAND

   Plaintiff demands a trial by jury on all issues so triable.

                                           /s/ Matthew S. Okiishi
                                           Matthew S. Okiishi (0096706)




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